  Case 4:23-cr-00090-RSB-CLR Document 108 Filed 06/26/24 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 UNITED STATES OF AMERICA,


        v.                                              CASE NO.: 4:23-cr-090

 VICTOR R. MCMILLAR,

                 Defendant.


                                           ORDER

       Before the Court is the Magistrate Judge’s May 20, 2024, Order and Report and

Recommendation (“R&R”). (Docs. 97 & 98.) The Magistrate Judge recommended that Defendant

Victor R. McMillar’s Motion to Dismiss, (doc. 72), be denied. (See doc. 98, pp. 3–16 (docketed

as the “Report and Recommendation”).) He granted McMillar’s motion in limine, (doc. 91), in so

far as it sought the exclusion of an October 20, 2018, text message but denied it as to eye-witness

testimony that McMillar had previously possessed a firearm, (see doc. 97, pp. 16–26 (docketed as

the “Order”)).

       Neither party objects to the Magistrate Judge’s recommendation that McMillar’s Motion

to Dismiss, (doc. 72), be denied, (see generally docket). After a careful de novo review of the

entire record, the Court concurs with the Magistrate Judge’s recommendation. (See doc. 98, pp.

3–16, 26.) The Court therefore ADOPTS the Report and Recommendation, (doc. 98), as its

opinion and DENIES McMillar’s Motion to Dismiss, (doc. 72).

       The United States objects to the Magistrate Judge’s “findings pursuant to 28 U.S.C.

§ 636(b)(1)(C)” regarding the October 20, 2018, text messages. (See doc. 103, p. 8.) But the

Magistrate Judge did not issue any “findings” or “recommendations” pursuant to 28 U.S.C.
  Case 4:23-cr-00090-RSB-CLR Document 108 Filed 06/26/24 Page 2 of 5




§ 636(b)(1)(C) as to the October 20, 2018, texts; he issued an Order granting McMillar’s motion

to exclude the texts. (See doc. 97, p. 26.) The United States is, therefore, not entitled to de novo

review pursuant to 28 U.S.C. § 636(b)(1)(C), (see doc. 103, pp. 7–8). Compare 28 U.S.C. §

636(b)(1)(C) (“A judge of the court shall make a de novo determination of those portions of the

report or specified proposed findings or recommendations to which objection is made.”), with 28

U.S.C. § 636(b)(1)(A) (“A judge of the court may reconsider any pretrial matter under this

subparagraph (A) where it has been shown that the magistrate judge’s order is clearly erroneous

or contrary to law.”).)

       Rather than object to a recommendation the Magistrate Judge did not make, the United

States could have appealed the Magistrate Judge’s decision or objected to his Order pursuant to

Federal Rule of Criminal Procedure 59 by attempting to show that the Order was “clearly

erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A) (emphasis added); see also Fed. R. Crim.

P. 59(a). It could have sought reconsideration in light of newly discovered evidence or a need to

correct a clear error of law of fact. Murray v. ILG Techs., LLC, No. 4:18-cv-110, 2019 WL

498849, at *1 (S.D. Ga. Feb. 8, 2019) (citing Bryan v. Murphy, 246 F. Supp. 2d 1256, 1258–59

(N.D. Ga. 2003)). Additionally, rather than appeal or move for reconsideration, the United States

might have attempted to persuade the Court to admit the October 20, 2018, text messages via its

own motion in limine seeking the admission of that evidence; after all, limine rulings are

provisional, and “the judge may always change his mind during the course of a trial.” Ohler v.

United States, 529 U.S. 753, 758 n.3 (2000). But the United States did not explicitly request any

of the aforementioned forms of relief or make the appropriate arguments by which the Court could

grant such relief. (See generally doc. 103.) The Court cannot reconstrue the procedurally defective

objection or reconstruct any potential argument for clear error, under the appropriate standard, on



                                                 2
    Case 4:23-cr-00090-RSB-CLR Document 108 Filed 06/26/24 Page 3 of 5




the United States’ behalf.

        In determining how to proceed with the United States’ objection, the Court notes that the

United States proffers evidence and argument in its objection that was not included in its Second

Notice of Intention to Use Evidence of Other Acts Pursuant to Rule 404(b), 1 (doc. 74), or its

Response in Opposition to Defendant’s Construed Motion in Limine, (doc. 93). In particular, the

United States proffers new evidence of how McMillar’s girlfriend’s “cellphone takes other steps

in aid of McMillar’s possession of subject firearm,” and argues the October 20, 2018, text

messages place this new evidence in context, because it helps explain McMillar’s relationship with

his girlfriend and the kinds of tasks she did for him. (See doc. 103, pp. 17–18.) The United States

acknowledges that the new “evidence and arguments . . . w[ere] not entirely before the Honorable

Judge Ray at the time he made his decision.” (Id. at p. 15.)

        As the Eleventh Circuit Court of Appeals has explained, “the magistrate judge system was

created to help alleviate the workload of the district judges,” and “it would be fundamentally unfair

to permit a litigant to set its case in motion before the magistrate, wait to see which way the wind

was blowing, and–having received an unfavorable [outcome]–shift gears before the district judge.”

Williams v. McNeil, 557 F.3d 1287, 1291–92 (11th Cir. 2009) (internal quotations and citation

omitted). Accordingly, “[w]hile courts have the discretion to consider novel evidence, factual

claims, and legal argument raised for the first time in an objection . . . they are under no objection

to do so,” Rolland v. Saul, No. 1:18-cv-111, 2019 WL 3554640, at *2 (S.D. Ga. Aug. 5, 2019).



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  In February of 2024, the United States noticed the October 20, 2018, text messages as 404(b) evidence.
(See doc. 74.) Notably, however, in that filing, the United States stated that its “position [is] that this
evidence is not subject to 404(b) at all.” (Id. at p. 6.) McMillar did not address Rule 404(b) in seeking
exclusion of the text messages in his motion in limine. (See doc. 91, p. 2.) In his Order and Report and
Recommendation, the Magistrate Judge expressed skepticism that Rule 404(b) applied to the text messages.
(See doc. 98, p. 22 n.4.) The Court shares the Magistrate Judge’s skepticism, and notes that, the parties
appear to also agree that Rule 404(b) is irrelevant to the admissibility of the text messages.

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  Case 4:23-cr-00090-RSB-CLR Document 108 Filed 06/26/24 Page 4 of 5




See also Creighton v. New York, No. 12 Civ. 7454, 2015 WL 8492754, at *5 (S.D.N.Y. Dec. 9,

2015) (“Although a district court has the inherent authority to consider further evidence in

reviewing rulings on nondispositive matters, such discretion should rarely be exercised in this

context because the district court functionally operates as an appellate tribunal under Rule 72(a).”).

        Moreover, the United States has also claimed that the evidence in this case is still “in flux”

and that there might be potential arguments to support the October 20, 2018, text messages’

admissibility that are “yet unknown.” (Doc. 103, p. 20 n.11.) It points specifically to a search

warrant for Apple iCloud accounts associated with McMillar that had not been returned at the time

the United States filed its objection. (Id.) Accordingly, the United States requested that “the Court

reserve its decision on the relevancy of the October 20, 2018, text messages until trial, when the

United States will be able to address any arguments by the Court and the defense with finality.”

(Id.) It is unclear at this stage whether the evidence in this case is still “in flux” or if the United

States’ request for the Court to defer revisiting the admissibility of the October 20, 2018, text

messages until trial still stands.

        On the whole, recommitting the matter to the Magistrate Judge appears most appropriate.

As stated above, the United States included new evidence and arguments regarding McMillar’s

motion in limine in its objection and has indicated that additional evidence and arguments may be

forthcoming. (See doc. 103, pp. 15–20.) The Court, therefore, VACATES the Magistrate Judge’s

Order in so far as it granted McMillar’s motion in limine to exclude the October 20, 2018, texts

on relevancy grounds, (doc. 97, in part), and REFERS the revived motion in limine, (doc. 91, in

part), to the Magistrate Judge for a hearing. The additional time from today until the final

disposition of the revived motion in limine shall be excluded from the calculation of the period of




                                                  4
    Case 4:23-cr-00090-RSB-CLR Document 108 Filed 06/26/24 Page 5 of 5




time within which the trial must commence pursuant to the Speedy Trial Act. 2

         Now that the Court has resolved McMillar’s Motion to Dismiss, (doc. 72), and the

associated R&R, (doc. 98), McMillar’s now-revived motion to exclude the October 20, 2018, text

messages, (doc. 91, in part), is the only pending pre-trial motion. To be clear, upon resolution of

the motion in limine, the Court may set a trial at any time–even if the United States’s evidence is

still “in flux.” If the United States requires an extension of time or a continuance because of

outstanding evidentiary issues, it must specifically move for the appropriate relief. See, e.g., S.D.

Ga. L. Crim. R. 12(j).

         SO ORDERED, this 26th day of June, 2024.




                                       R. STAN BAKER, CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA




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    See 18 U.S.C. § 3161(h)(1)(D).

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